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                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

STEPHEN SWINTON,                            §
     Plaintiff,                             §
                                            §
v.                                          §       Civil Action No. 4:16-cv-3056
                                            §
PATIENT ACCOUNTING SERVICE                  §
CENTER, LLC D/B/A ARSTRAT,                  §
     Defendant.                             §

                   JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(1)(ii) and Rules of this Court, Plaintiff,

STEPHEN SWINTON, and Defendant, PATIENT ACCOUNTING SERVICE CENTER,

LLC, D/B/A ARSTRAT, stipulate, and the Court hereby orders, as follows:

1.     STEPHEN SWINTON is the only plaintiff; PATIENT ACCOUNTING SERVICE

CENTER, LLC, D/B/A ARSTRAT is the only named defendant in this matter.

2.     Plaintiff, STEPHEN SWINTON no longer wishes to pursue any of his claims and

no longer wishes to pursue this lawsuit; therefore, Plaintiff, STEPHEN SWINTON

hereby requests the Court to moves to dismiss, with prejudice, all of his claims against

all parties. Defendant, PATIENT ACCOUNTING SERVICE CENTER, LLC, D/B/A

ARSTRAT who was served and made an appearance in this lawsuit, agrees to a

dismissal with prejudice of all of Plaintiff’s claims against all parties.

3.     This case is not a class action, and a receiver has not been appointed.

4.     This action is not governed by any statue of the United States that requires an

order of the court for dismissal of this case.

5.     Plaintiff, STEPHEN SWINTON has not dismissed an action based on or including

the same claim or claims as those presented in this suit.

JOINT STIPULATION OF DISMISSAL WITH PREJUDICE                                         1
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6.     Plaintiff, STEPHEN SWINTON and Defendant, PATIENT ACCOUNTING

SERVICE CENTER, LLC, D/B/A ARSTRAT, respectfully request the Court to dismiss,

with prejudice, this lawsuit, all parties, and all claims asserted against all parties in the

above-captioned proceeding, pursuant to Fed. R. Civ. P. 41(a)(1)(ii).

7.     Both sides to bear their own fees and costs.

Date: 12/04/2017

                                          Respectfully Submitted By,

                                          LEMBERG LAW LLC

                                          By: /s/ Jenny DeFrancisco______
                                          Jenny DeFrancisco, Esq.
                                          CT Bar No.: 432383
                                          43 Danbury Road
                                          Wilton, CT 06897
                                          Tel: (203) 653-2250
                                          Fax: (203) 653-3424
                                          ATTORNEY FOR PLAINTIFF
                                          STEPHEN SWINTON

                                          SPROTT NEWSOM
                                          QUATTLEBAUM MESSENGER

                                          By: /s/ Kandy E. Messenger
                                          KANDY E. MESSENGER
                                          State Bar No. 24053360
                                          Fed. ID. 638777
                                          2211 Norfolk Suite 1150
                                          Houston, Texas 77098
                                          Tel: (713) 523-8338
                                          Fax: (713) 523-9422
                                          Messenger@sprottnewsom.com
                                          ATTORNEY FOR DEFENDANT,
                                          PATIENT ACCOUNTING SERVICE CENTER,
                                          LLC, D/B/A ARSTRAT




JOINT STIPULATION OF DISMISSAL WITH PREJUDICE                                              2
